        Case 3:21-cv-00005-CDL Document 1 Filed 01/19/21 Page 1 of 19




                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF GEORGIA
                          ATHENS DIVISION

MEGAN SPARKS and THOMAS
FLETCHER,
individually and on behalf of all
others similarly situated,

             Plaintiffs,                              CIVIL ACTION FILE NO.

      v.

BOOM BOOM RESTAURANTS, LLC,
SISTER LOUISA ATHENS, LLC,
GRANT HENRY, and O. JON MCRAE,                        COLLECTIVE ACTION
III,
         Defendants.


                                   COMPLAINT

      NOW COME Megan Sparks (hereinafter “Sparks”) and Thomas Fletcher

(hereinafter “Fletcher”) (hereinafter collectively referred to as “Plaintiffs”) and

assert this Complaint against Boom Boom Restaurants, LLC, (hereinafter “Boom

Boom”), Sister Louisa’s Athens, LLC (hereinafter “Church Bar Athens”), Grant

Henry (hereinafter “Henry”), and O. Jon McRae, III (hereinafter “McRae”)

(hereinafter collectively “Defendants”) for violations of the Fair Labor Standards

Act, 29 U.S.C. §201 et. seq. (hereinafter “FLSA” or “the Act”). Plaintiffs state

more fully as follows:
        Case 3:21-cv-00005-CDL Document 1 Filed 01/19/21 Page 2 of 19




                                 INTRODUCTION

                                          1.

      Plaintiffs worked for Defendants within three (3) years preceding the filing

of this Complaint. Defendants failed and willfully refused to pay Plaintiffs

minimum wages equal to or exceeding the amount required under the FLSA §6, 29

U.S.C. §206. Plaintiffs seek, both for themselves and for all other similarly situated

employees, their unpaid wages for three (3) years preceding the filing of this

Complaint (hereinafter “the actionable period”), liquidated damages, and their

attorneys’ fees and costs of litigation under the Act.

                                          2.

      More specifically, Defendants violated the Act in several ways. First,

Defendants violated the tip pool regulations in that owners and/or managers

participated in and received money from the tip pool. Second, no accurate

description of the tip pool was ever provided to the service staff. Third, no accurate

records of gross tips received and/or tip pool distributions were never kept and/or

provided to the service staff.




                                           2
        Case 3:21-cv-00005-CDL Document 1 Filed 01/19/21 Page 3 of 19




                                 JURISDICTION

                                         3.

   Plaintiffs bring this action under the Fair Labor Standards Act, 29 U.S.C. §201

et. seq. This Court has original jurisdiction pursuant to 29 U.S.C. §216(b), and 28

U.S.C. §1331, §1132(a)(1)(B), and §1337.

                                     VENUE

                                         4.

   Defendant Boom Boom is a Georgia-based corporation with its corporate office

at 254 W. Clayton Street, Athens, Clarke County, Georgia 30601. Defendant

Church Bar Athens is a Georgia-based corporation with its corporate office at 510

Edgewood Avenue, #5, Atlanta, Georgia, and operates a bar located at 254 West

Clayton Street, Athens, Georgia. Venue for this action properly lies in the Middle

District of Georgia, Athens Division, pursuant to 28. U.S.C. §1391(b) and

§1391(c)(2), and Local Rule 3.1, and 3.4, M.D. Ga.

               DEFENDANTS’ COVERAGE UNDER THE FLSA

                    Sub-Part 1: Defendant Church Bar Athens

                                         5.

      Boom Boom and/or Church Bar Athens operates a bar located at 254 West

Clayton Street, Athens, Georgia 30601.



                                         3
        Case 3:21-cv-00005-CDL Document 1 Filed 01/19/21 Page 4 of 19




                                            6.

      Boom Boom and/or Church Bar Athens buy supplies and equipment,

including alcohol, out of the stream of interstate commerce.

                                            7.

      Boom Boom and/or Church Bar Athens utilize interstate credit/debit card

processing in the course of its business.

                                            8.

      Boom Boom and/or Church Bar Athens utilize the interstate banking system

in the course of its business.

                                            9.

      Boom Boom and/or Church Bar Athens advertise in the stream of interstate

commerce using the internet, including but not limited to platforms such as

Facebook and Yelp.

                                            10.

      In calendar year 2018, Boom Boom and/or Church Bar Athens had an

annual gross volume of sales made or business done of not less than five hundred

thousand dollars ($500,000), exclusive of excise taxes at the retail level, as defined

in §3(s)(1) of the Act. 29 U.S.C. §203(s)(1).




                                            4
        Case 3:21-cv-00005-CDL Document 1 Filed 01/19/21 Page 5 of 19




                                         11.

      In calendar year 2019, Boom Boom and/or Church Bar Athens had an

annual gross volume of sales made or business done of not less than five hundred

thousand dollars ($500,000), exclusive of excise taxes at the retail level, as defined

in §3(s)(1) of the Act. 29 U.S.C. §203(s)(1).

                                         12.

      For calendar year 2020, Boom Boom and/or Church Bar Athens had an

annual gross volume of sales made or business done of not less than five hundred

thousand dollars ($500,000), exclusive of excise taxes at the retail level, as defined

in §3(s)(1) of the Act. 29 U.S.C. §203(s)(1).

                                         13.

      Boom Boom and/or Church Bar Athens constitute an enterprise engaged in

commerce or in the production of goods or services for commerce within the

meaning of §3(r), §3(s)(1), §6(a) and §7(a) of the Act, 29 U.S.C. §203(r),

§203(s)(1), §206(a) and §207(a), for the years 2019 through 2020.

                                         14.

      For the calendar year 2018, Boom Boom and/or Church Bar Athens were

covered by, and subject to, the requirements of the Fair Labor Standards Act, 29

U.S.C. §201 et. seq.



                                          5
          Case 3:21-cv-00005-CDL Document 1 Filed 01/19/21 Page 6 of 19




                                        15.

        For the calendar year 2019, Boom Boom and/or Church Bar Athens were

covered by, and subject to, the requirements of the Fair Labor Standards Act, 29

U.S.C. §201 et. seq.

                                        16.

        For the calendar year 2020, Boom Boom and/or Church Bar Athens are

covered by, and subject to, the requirements of the Fair Labor Standards Act, 29

U.S.C. §201 et. seq.

                                        17.

        Boom Boom and/or Church Bar Athens are an “employer” in an industry

affecting commerce within the meaning of §3(d) of the Act, 29. U.S.C. §203(d).

                                        18.

        Boom Boom and/or Church Bar Athens were/are an “employer” of the

Plaintiffs as defined in §3(d) of the Act, 29 U.S.C. §203(d), in 2018, 2019 and

2020.

                   Sub-Part 2: Owner/Managers as “Employers”

                                        19.

        Henry is an owner and/or shareholder in Boom Boom and/or Church Bar

Athens.



                                         6
          Case 3:21-cv-00005-CDL Document 1 Filed 01/19/21 Page 7 of 19




                                       20.

      Henry, along with other individuals, manages the day-to-day operations of

Boom Boom and/or Church Bar Athens.

                                       21.

      Henry acted and acts directly in the interest of Boom Boom and/or Church

Bar Athens in relation to Church Bar Athens’ employees such as Plaintiffs. Thus,

Henry was an “employer” of the Plaintiffs within the meaning of §3(d) of the

FLSA, 29 U.S.C. §203(d).

                                       22.

      McRae is an owner and/or shareholder in Boom Boom and/or Church Bar

Athens.

                                       23.

      McRae, along with other individuals, manages the day-to-day operations of

Boom Boom and/or Church Bar Athens.

                                       24.

      McRae acted and acts directly in the interest of Boom Boom and/or Church

Bar Athens in relation to Boom Boom and/or Church Bar Athens’ employees such

as Plaintiffs. Thus, McRae was an “employer” of the Plaintiffs within the meaning

of §3(d) of the FLSA, 29 U.S.C. §203(d).



                                        7
        Case 3:21-cv-00005-CDL Document 1 Filed 01/19/21 Page 8 of 19




                                     FACTS.

                       Sub-Part 1: Basic Employment Facts.

                                        25.

      Sparks was employed by Defendants from approximately August 2017

through early November 2020.

                                        26.

      During the Relevant Period, Sparks was employed by the Defendants as a

bartender.

                                        27.

      Fletcher was employed by Defendants from approximately Summer 2017

through early November 2020.

                                        28.

      During the Relevant Period, Fletcher was employed by the Defendants

initially as a busser for approximately the first month of his employment and

subsequently Fletcher became a bartender and continued to work for Church Bar as

a bartender until he resigned in early November 2020.

                                        29.

      Defendants employed Dylan Snapp (hereinafter “Snapp”) as a salaried

manager and/or supervisor from approximately Fall of 2018 through at least

December 2019.

                                         8
        Case 3:21-cv-00005-CDL Document 1 Filed 01/19/21 Page 9 of 19




                                         30.

      Snapp worked as a manager on Thursdays, Fridays, and Saturdays.

                                         31.

      Snapp, while employed as a salaried manager/supervisor, participated in the

employee tip pool.

                                          32.

      Defendants had four (4) distinct job positions/duties for non-exempt

employees during the actionable period: bartender, bar-back, busser, and doorman.

                                         33.

      The position of bartender will be described in more detail, infra.

                                         34.

      Bussers received approximately $10.00 to $15.00 per hour, depending on the

particular employee, and did not participate in the tip pool.

                                         35.

      The doorman position was paid $20.00 per hour – “off-the-books” - and did

not participate in the tip pool.

                                         36.

      Bar-backs were paid $10.00 to $15.00 per hour, depending on the employee,

and received a percentage of the tip pool (see ¶¶ 47-48).



                                          9
        Case 3:21-cv-00005-CDL Document 1 Filed 01/19/21 Page 10 of 19




                                         37.

       In general, the work shift for the opening bartender begins at 4:00 PM and

service begins at 5:00 PM. Service ends 2:00 AM and the closing bartender would

complete their duties generally by 4:00 AM. Church Bar Athens operates Mondays

through Saturdays and is closed on Sundays. Generally, Church Bar Athens uses

two (2) bartenders on Monday through Thursday nights, and three (3) bartenders

on Friday and Saturday nights. Generally, a separate position – one (1) barback -

would also be employed each evening.

                                         38.

       Boom Boom and/or Church Bar Athens utilize a tip pool as that term is

defined under the Act, see e.g., 20 C.F.R. Sub-Part D, 29 C.F.R. §531.54 and 29

U.S.C. §203(m).

                                         39.

       Bartenders, such as Plaintiffs, were paid $2.13 per hour plus tips.

                                         40.

       Sparks was employed by Defendants in 2018 and was paid $2.13 per hour

plus tips.

                                         41.

       Sparks was employed by Defendants in 2019 and was paid $2.13 per hour

plus tips.

                                          10
        Case 3:21-cv-00005-CDL Document 1 Filed 01/19/21 Page 11 of 19




                                        42.

       Sparks was employed by Defendants in 2020 and was paid $2.13 per hour

plus tips.

                                        43.

       Fletcher was employed by Defendants in 2018 and was paid $2.13 per hour

plus tips.

                                        44.

       Fletcher was employed by Defendants in 2019 and was paid $2.13 per hour

plus tips.

                                        45.

       Fletcher was employed by Defendants in 2020 and was paid $2.13 per hour

plus tips.

                          Sub-Part 2: Tip Pool Violations.

                                        46.

       Boom Boom and/or Church Bar Athens utilize a tip pool as that concept is

defined under the Act, see e.g., 20 C.F.R. Sub-Part D, 29 C.F.R. §531.54 and 29

U.S.C. §203(m). All tips provided by customers were collectively pooled, as

described in more detail, infra.




                                        11
        Case 3:21-cv-00005-CDL Document 1 Filed 01/19/21 Page 12 of 19




                                         47.

      In addition to the tip pool, Boom Boom and/or Church Bar Athens required

bartenders to “tip out” two percent (2%) of gross sales to be distributed to the

barback position. This sum – two percent of gross sales – came out of the tip pool

before distribution to the bartenders.

                                         48.

      Boom Boom and/or Church Bar Athens would distribute the tip pool - less

the two precent (2%) of gross sales to the bar back - to the bartenders who worked

that evening. The tip pool would be distributed on a pro rata basis (using hours

worked that evening as the factor) less the two percent (2%) of gross sales tip-out

to the barback.

                                         49.

      McRae regularly worked as a bartender at Church Bar Athens and

participated in the tip pool with other bartenders, despite being an owner/manager

of Boom Boom and/or Church Bar Athens.

                                         50.

      Plaintiffs regularly questioned McRae regarding his participation in the tip

pool as an owner/manager of the Boom Boom and/or Church Bar Athens. The

bartenders thought it grossly unfair that McRae would take the premium evening



                                         12
       Case 3:21-cv-00005-CDL Document 1 Filed 01/19/21 Page 13 of 19




shifts – typically Friday and Saturday – for himself, and thereby take a portion of

the largest tip pools. See the attached Exhibit “A.”

                                         51.

      Due to this criticism from the bartenders, at some point in the summer of

2020, McRae ceased to participate in the tip pool.

                                         52.

      However, after only two weeks, McRae changed his mind and went back to

working the premium bartending shifts and participating in the tip pool. See

Exhibit “A.” When questioned by Sparks as to why he changed his mind, McRae

replied he “needed the money” after purchasing an adjacent property.

                    Sub-Part 3: Failure to Pay Minimum Wage

                                         53.

      Boom Boom and/or Church Bar Athens did not regularly and consistently

pay its employees during the actionable period pay its employees.

                                         54.

      During the actionable period, Boom Boom and/or Church Bar Athens did

not consistently and accurately provide written paychecks (or paycheck stubs)

detailing hours worked, regular rate, tips, deductions, and net compensation.




                                         13
         Case 3:21-cv-00005-CDL Document 1 Filed 01/19/21 Page 14 of 19




                                           55.

        As an example, Boom Boom and/or Church Bar Athens reported Sparks’

2019 W-2 income as $4,000, despite her both working more than represented by

the W-2 and earning significantly more during this period.

                                           56.

        During the actionable period, Boom Boom and/or Church Bar Athens did

not regularly and consistently pay its bartenders the $2.13 per hour hourly base

rate.

                                           57.

        Plaintiffs would receive a paycheck intermittently, if at all, without any

accounting for their hours worked on their checks during the employment period.

                                           58.

        For some weeks, Defendants provided paychecks without an accounting of

their hours worked, their overtime hours worked (if any), their total pay period

straight time earnings, their deductions or additions to wages, the total wages paid

each pay period, and the date of payment and pay period covered.




                                           14
          Case 3:21-cv-00005-CDL Document 1 Filed 01/19/21 Page 15 of 19




                  COUNT I: FAILURE TO PAY MINIMUM WAGE

                              – TIP POOL VIOLATIONS

                                            59.

         Plaintiffs restate and reallege paragraphs one (1) through fifty-eight (58),

supra.

                                            60.

         Defendants’ willful violations of the U.S. Department of Labor’s regulations

governing tip pools, i.e., (a) allowing managers and/or owners to participate, (2)

failing to inform the Plaintiffs of the terms of the tip pool, and (3) failing to

provide accurate, timely records of tip pool distributions constitute violations of §6

of the Act, 29 U.S.C. §206.

                                            61.

         Defendants owe Plaintiffs, and all similarly situated employees, back wages

in an amount to be determined at trial for (1) all illegally retained tips, (2) all tips

distributed to back-of-house employees and managerial employees, and (3) for the

full, non-tipped minimum wage for all hours worked as servers pursuant to 29

U.S.C. §206 and §216.

                                            62.

         Additionally, Defendants owe Plaintiffs, and all similarly situated

employees, liquidated damages in an equal amount for all illegally retained tips, all

                                            15
       Case 3:21-cv-00005-CDL Document 1 Filed 01/19/21 Page 16 of 19




tips paid to back-of-house and managerial employees, and for all unpaid full (non-

tip credit) minimum wages pursuant to 29 U.S.C. §206 and §216.

                COLLECTIVE ACTION – FLSA VIOLATIONS

                                        63.

      Defendants’ violations of the Fair Labor Standards Act described herein are

systemic policy or practice violations applicable to all bartenders employed during

the actionable period. Thus, pursuant to §16 of the Act, 29 U.S.C. §216, Court-

authorized notice should be issued to all bartenders employed by Defendant

Church Bar during the actionable period.

                                PRAYER FOR RELIEF

                                        64.

   Based upon the forgoing paragraphs, Plaintiffs respectfully ask this Court to

find and order the following:

   A. That the Court issue Notice to all similarly situated persons pursuant to §16

      of the Act, 29 U.S.C. §216;

   B. That the Court find and declare that Defendant Henry acted directly in the

      interest of Defendant Boom Boom Restaurants, LLC, and Defendant Sister

      Louisa Athens, LLC relation of the Plaintiffs, and any other similarly

      situated class member, that as such Defendant Henry was an “employer” of

      Plaintiffs, and any other similarly situated class member, within the meaning

                                        16
    Case 3:21-cv-00005-CDL Document 1 Filed 01/19/21 Page 17 of 19




   of §3(d) of the Act, 29 U.S.C. §203(d), and that Defendant Henry is jointly

   and severally liable for any damages awarded to Plaintiffs, and all similarly

   situated employees;

C. That the Court find and declare that Defendant McRae acted directly in the

   interest of Defendant Boom Boom Restaurants, LLC and Defendant Sister

   Louisa Athens, LLC relation of the Plaintiffs, and any other similarly

   situated class member, that as such Defendant McRae was an “employer” of

   Plaintiffs, and any other similarly situated class member, within the meaning

   of §3(d) of the Act, 29 U.S.C. §203(d), and that Defendant McRae is jointly

   and severally liable for any damages awarded to Plaintiffs, and all similarly

   situated employees;

D. That the Court find and declare that Defendant Boom Boom Restaurants,

   LLC, Defendant Sister Louisa Athens, LLC Defendant Sister Louisa Athens,

   LLC, Defendant Henry, and Defendant Rae, collectively, have violated the

   Fair Labor Standards Act, 29 U.S.C. §201 et. seq., by failing to properly pay

   the Plaintiffs, and any other similarly situated class member, minimum

   wages as required, and to have acted “willfully” thus entitling the Plaintiffs,

   and any other similarly situated class member, to liquidated damages under

   the Act;



                                      17
    Case 3:21-cv-00005-CDL Document 1 Filed 01/19/21 Page 18 of 19




E. That That Defendant Boom Boom Restaurants, LLC, Defendant Sister

  Louisa Athens, LLC, Defendant Henry, and Defendant McRae be ordered to

  pay Plaintiffs, and any other similarly situated class member, back wages

  equaling the minimum wage required under §6 of the Act, 29 U.S.C. §206,

  for all applicable workweeks;

F. That Defendant Boom Boom Restaurants, LLC, Defendant Sister Louisa

  Athens, LLC, Defendant Henry, and Defendant McRae be ordered to pay

  Plaintiffs, and any other similarly situated class member, all tips illegally

  retain and/or distributed to any manager, owner or supervisor back wages

  pursuant to §3(m) and §6 of the Act, 29 U.S.C. §203(m) and §206, for all

  applicable workweeks;

G. That Defendant Boom Boom Restaurants, LLC, Defendant Sister Louisa

  Athens, LLC, Defendant Henry, and Defendant McRae be ordered to pay

  Plaintiffs, and any other similarly situated class member, liquidated damages

  under the Act pursuant to §16(b) of the Act, 29 U.S.C. §216(b);

H. That Defendant Boom Boom Restaurants, LLC, Defendant Sister Louisa

  Athens, LLC, Defendant Henry, and Defendant McRae be ordered to pay

  Plaintiffs’, and any other similarly situated class member’s, reasonable

  attorneys’ fees, and costs of this action pursuant to 29 U.S.C. §216; and,



                                     18
    Case 3:21-cv-00005-CDL Document 1 Filed 01/19/21 Page 19 of 19




I. For such other and further relief as the Court finds just and appropriate.

Respectfully submitted this 19th day of January 2021.


                                                 /s/ Peter H. Steckel
                                                 Peter H. Steckel
                                                 Georgia Bar Number 491936
                                                 Counsel for Plaintiff
Steckel Law, L.L.C.
54 South Main Street
Watkinsville, Georgia 30677
(404) 717-6220
Email: peter@SteckelWorkLaw.com




                                      19
